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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

                                             CASE No.: 6:24-cv-01798-WWB-RMN

 MICHAEL R. MCNEIL,

       Plaintiff,
 vs.

 SHAH & SHAH INVESTMENTS LLC,
 et al.,

      Defendant.
 __________________________________/

            NOTICE OF VOLUNTARY DISMISSAL WITH PREJUDICE

       Plaintiff MICHAEL R. MCNEIL, by and through his undersigned counsel,

 hereby files this Notice of Voluntary Dismissal, with prejudice, of this action, as to

 Defendant, SHAH & SHAH INVESTMENTS, LLC.

 Respectfully submitted this 9th day of December, 2024.

                                               By:/s/Sara Howeller, Esq.______
                                               Sara Howeller, Esq.
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                          CERTIFICATE OF SERVICE

        I hereby certify that on this 9th day of December 2024, I electronically filed
 the foregoing with the Clerk of Court by using the CM/ECF system. I also certify
 that the aforementioned document is being served on all counsel of record,
 corporation, or pro se parties via transmission of Notices of Electronic Filing
 generated by CM/ECF or in some other authorized manner for those counsel or
 parties who are not authorized to receive electronically Notices of Filing.


                                               By:/s/Sara Howeller, Esq.______
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